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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-0934V
                                        UNPUBLISHED


    BRIDGETT RUNKLES,                                       Chief Special Master Corcoran

                        Petitioner,                         Filed: September 15, 2020
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Hepatitis A/B Vaccine;
                                                            Influenza (Flu) Vaccine; Shoulder
                       Respondent.                          Injury Related to Vaccine
                                                            Administration (SIRVA)


John Robert Howie, Howie Law, PC, Dallas, TX, for petitioner.

Voris Edward Johnson, U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT1

        On June 27, 2019, Bridgett Runkles filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) which meets the Table definition for SIRVA after receiving
hepatitis A/B and influenza vaccines on September 12, 2017. Petition at 1, ¶¶ 1, 42.
Petitioner further alleges that she received the vaccination in the United States, that she
suffered the residual effects of her SIRVA for more than six months, and that neither she
nor any other individual has filed a civil action or received compensation for her SIRVA.
Id. at ¶¶ 40-41 The case was assigned to the Special Processing Unit of the Office of
Special Masters.

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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        On September 15, 2020, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c)
Report at 1. Specifically, Respondent “concluded that petitioner suffered a Table injury
of left SIRVA.” Id. at 4. Respondent further agrees that “based on the record as it now
stands, compensation is appropriate, as petitioner has satisfied all legal prerequisites for
compensation under the Act.” Id.at 5.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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